Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 1 of 28



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    Case No. _______________________


  RICHARD COLE,
  on behalf of himself and
  all others similarly situated,

                           Plaintiff,
                  v.

  UNITED HEALTHCARE
  INSURANCE COMPANY,

                   Defendant.
  _____________________________________/

                                      CLASS ACTION COMPLAINT

        Plaintiff Richard Cole (“Plaintiff”), individually and on behalf of all others

  similarly situated, brings this Class Action Complaint against Defendant United

  Healthcare Insurance Company (“UHC”), pursuant to Rule 23 of the Federal Rules of

  Civil Procedure, and alleges as follows:

                                                INTRODUCTION

       1.         This is a class action on behalf of beneficiaries of ERISA plans

 administered by UHC who were denied Proton Beam Radiation Therapy (“PBRT”)

 because of UHC’s uniform application of an arbitrary medical policy to deny as

 experimental or investigational such treatment for prostate cancer, despite PBRT

 being recognized for decades by the medical community as an established, medically

 appropriate treatment for cancer, including prostate cancer.

       2.         Instead of acting solely in the interests of the participants and

                                                           1
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 2 of 28



 beneficiaries of its health insurance plans, upon information and belief, UHC denied

 coverage for PBRT to treat prostate cancer because, on average, PBRT is significantly

 more expensive than traditional Intensity Modulated Radiotherapy (“IMRT”) or other

 treatments.

       3.        Plaintiff is a beneficiary in a health insurance plan issued on behalf of

 his employer (the “Employer Plan”), which is a group health benefit plan.                                               The

 Employer Plan is governed by the Employee Retirement Income Security Act

 (“ERISA”), 29 U.S.C. § 1001, et seq., and is administered by UHC.

       4.        Plaintiff was diagnosed with prostate cancer in April 2018. In May

 2018, Plaintiff consulted with physicians at Miami’s Cancer Institute (“MCI”) at

 Baptist Health South Florida, including: Dr. Michael Zinner, Chief Executive Officer

 and Executive Medical Director; Dr. Minesh Mehta, Deputy Director and Chief of

 Radiation Oncology; and Dr. Marcio Fagundes, Medical Director and Vice Chair of the

 Radiation Oncology Department. The physicians at MCI recommended that Plaintiff

 undergo PBRT as an alternative to IMRT because, among other things, the likelihood

 of achieving a better outcome was greater for PBRT.

       5.        PBRT has been recognized for decades by the medical community as an

 established, medically appropriate treatment for cancer, including prostate cancer.

 The first hospital-based proton-beam center in the United States was at the Loma

 Linda University Medical Center, which began operation in 1990.

       6.        MCI is affiliated with Memorial Sloan Kettering Cancer Center

 (“Sloan”) in New York, New York. Physicians from the radiation oncology department

                                                          2
                                                 Colson Hicks Eidson
        255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 3 of 28



 at Sloan agreed with the treatment plan established for Plaintiff by the physicians at

 MCI.

        7.        On May 30, 2018, UHC denied Plaintiff’s request for pre-authorization

 of PBRT on the grounds that it fell under an exclusion in the Employer Plan entitled

 “Experimental or Investigational or Unproven Services” (“E/I Exclusion”) and UHC’s

 uniform medical policy that PBRT is experimental or investigational, and therefore

 not covered for prostate cancer in persons that are 19 years of age or older (the “UHC

 PBRT Policy”).

        8.        Notwithstanding UHC’s denial of coverage, Plaintiff proceeded to have

 PBRT, with very positive results. Plaintiff paid for the treatment out-of-pocket and

 sought payment of benefits from UHC. UHC denied coverage. Plaintiff exhausted all

 internal appeals provided by the Employer Plan. UHC responded by upholding the

 denial of coverage based solely on the UHC PBRT Policy, and without considering the

 substantial materials submitted by Plaintiff and his providers supporting coverage for

 PBRT. Thereafter, Plaintiff filed an external appeal with Medical Review Institute of

 America (“MRIA”), a so-called Independent Review Organization (“IRO”)—which is

 unilaterally selected by UHC—that upheld the denial based on the E/I Exclusion and

 the UHC PBRT Policy.

        9.        In denying coverage, UHC followed the UHC PBRT Policy, which

 mandates denial of coverage for PBRT to treat prostate cancer on patients over 19

 years old for all plans insured or administered by UHC.

        10.       During the external appeal process, MRIA rubber-stamped UHC’s


                                                           3
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 4 of 28



 denial decision without conducting a truly independent evaluation of whether PBRT

 is a proven and effective treatment for prostate cancer. Neither UHC nor MRIA

 properly applied the E/I Exclusion found in the Employer Plan.

       11.        On January 1, 2019, UHC changed its PBRT policy. The new policy

 acknowledges that PBRT is not experimental, as PBRT and IMRT are “proven and

 considered clinically equivalent for treating prostate cancer.”

       12.        Thus, as of January 1, 2019, UHC acknowledged that PBRT is a proven,

 efficacious treatment for prostate cancer, and is not experimental or investigational

 by any fair definition of those terms, and certainly not within the meaning of those

 terms as defined in the Employer Plan.

       13.        UHC’s PBRT Policy and resulting denial of PBRT coverage for Plaintiff

 and members of the Class he seeks to represent (as defined below) violated the terms

 of the relevant plans and UHC’s fiduciary obligations under ERISA.

       14.        Under ERISA, Plaintiff and Class members are entitled to equitable and

 declaratory relief enjoining the application of any UHC PBRT Policy that pre-dates

 UHC’s new January 1, 2019 PBRT policy change, reversing UHC’s benefits denials of

 coverage for PBRT that were based on any UHC PBRT Policy that pre-dates UHC’s

 new January 1, 2019 PBRT policy change, and awarding such other relief the Court

 finds appropriate.

                                                   THE PARTIES

       15.        Plaintiff Richard Cole is a citizen of Florida who resides in Miami,

 Florida.


                                                           4
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 5 of 28



       16.        Defendant UHC is a Connecticut corporation with its principal place of

 business in Hartford, Connecticut. UHC is a global health care benefits company,

 which, along with its wholly owned and controlled subsidiaries, offers, insures,

 underwrites, and administers health benefits plans, including Plaintiff’s health

 benefits plan, as detailed herein. UHC and its subsidiaries are referred to as “UHC”

 in this Complaint.

                                      JURISDICTION AND VENUE

       17.        UHC’s actions in administering employer-sponsored health care plans,

 making coverage and benefit determinations under the terms and conditions of the

 health care plans, and/or processing appeals of coverage and benefit determinations

 under the terms and conditions of the health care plans are governed by ERISA. This

 Court has jurisdiction of this case under 28 U.S.C. § 1331 (federal question

 jurisdiction) and 29 U.S.C. § 1132(e) (ERISA).

       18.        This Court has personal jurisdiction over UHC pursuant to § 48.193(1),

 Florida Statutes, because UHC has operated, conducted, engaged in, and carried on a

 business in Florida and has an office in Florida. UHC is also subject to personal

 jurisdiction pursuant to § 48.193(4), Florida Statutes, because it contracted to insure

 Plaintiff within Florida at the time of contracting.

       19.        Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1),

 because Defendant resides in this judicial district, and under 28 U.S.C. § 1391(b)(2)

 and 1391(d), because a substantial part of the events or omissions giving rise to

 Plaintiff’s and Class members’ claims occurred in this judicial district.


                                                           5
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 6 of 28



                                         FACTUAL ALLEGATIONS

    A. UHC Acts as a Fiduciary for its ERISA Plans.

        20.       The majority of the health plans underwritten and/or administered by

 UHC, including the Employer Plan, are employee welfare benefit plans sponsored by

 private-sector employers governed by ERISA (“ERISA plans”).

        21.       During all relevant times, UHC acted as a fiduciary with respect to its

 administration of ERISA plans. In particular, UHC interpreted and applied ERISA

 plan terms, made coverage and benefit decisions under the ERISA plans within its

 sole   discretion,         and       provided          payment           under         the       ERISA          plans    to

 participants/beneficiaries and their providers. Accordingly, UHC was required to

 comply with the requirements ERISA imposes on fiduciaries.

        22.       The health insurance plans administered by UHC are either fully

 insured or self-funded. With respect to fully insured plans, UHC both administers the

 plan by making all benefit determinations and pays the benefits out of its own assets.

 With respect to self-funded plans, UHC administers the plan, but the underlying plan

 sponsor or employer through which the insurance is provided is ultimately responsible

 for reimbursing UHC for the benefit payments.

        23.       When processing benefits for a self-funded plan, UHC makes all benefit

 determinations and authorizes benefit checks to be issued out of bank accounts that

 UHC controls. Periodically, UHC will notify the sponsors of the self-funded plans

 of the need to replenish their accounts so that benefits can be paid. But UHC

 nevertheless continues to control these accounts and is fully responsible for processing


                                                           6
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 7 of 28



 the insurance claims and making the determination whether to issue the check from

 these accounts.

       24.     Thus, irrespective of whether a particular ERISA plan is fully insured or

 self-funded, UHC is the proper party for Plaintiff, and the putative Class, to sue

 because UHC—not the underlying plan sponsor or employer—made all the relevant

 decisions and wielded the authority to issue benefit checks under the ERISA plans.

    B. Proton Beam Radiation Therapy.

       25.     PBRT is a procedure that uses protons to deliver a curative radiation dose

 to a tumor, while reducing doses to healthy tissues and organs, which results in fewer

 complications and side effects than traditional IMRT.

       26.     With PBRT, protons deposit their energy over a very small area called the

 “Bragg peak.” The Bragg peak can be used to target high doses of proton beams to a

 tumor, while doing less damage to normal tissues in front of and behind the tumor.

 Proton beams enable patients to tolerate higher total doses of radiotherapy compared

 with photons, which are used for traditional IMRT.

       27.     There is overwhelming evidence that PBRT is safe and effective and is a

 generally accepted standard of medical practice for the treatment of cancer, including

 prostate cancer, within the medical community.

       28.     PBRT has been around and well-accepted for over 30 years. The Food and

 Drug Administration (“FDA”) approved PBRT for treatment of prostate cancer in 1988;

 the National Association for Proton Therapy, Alliance for Proton Therapy and other

 nationally-recognized medical organizations, and numerous meticulous peer-reviewed

 studies have validated the safety and effectiveness of PBRT.
                                                          7
                                                 Colson Hicks Eidson
        255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 8 of 28



       29.      Additionally, many respected cancer facilities and providers, including

 Baptist Hospital’s Miami Cancer Institute, MD Anderson Cancer Center, Loma Linda

 University, University of Florida, Harvard Medical School/Massachusetts General

 Hospital, University of Maryland, Northwestern University, Mayo Clinic, Emory

 University, Case Western Reserve University, Washington University in St. Louis,

 University of Washington, New York Proton Center, and the Texas Center for Proton

 Therapy recommend and use PBRT on a regular basis.

       30.      Other insurers, including Medicare, cover PBRT as a safe and effective

 treatment for prostate cancer that is not “experimental.”

    C. UHC’s Proton Beam Radiation Therapy Medical Policy.

       31.      Up until January 1, 2019, UHC employed the UHC PBRT Policy, which

 maintained that PBRT was experimental or investigational, and therefore not covered

 for prostate cancer in persons that are 19 years of age or older.

       32.      As evidence of the arbitrary and capricious nature of UHC’s denial of

 PBRT for treatment of prostate cancer, the UHC PBRT Policy maintains that PBRT

 is experimental or investigational, and therefore not covered, for persons 19 years of

 age or older, while simultaneously finding PBRT to be non-experimental and non-

 investigational (i.e., proven safe and effective), and therefore covered, for persons

 under 19 years of age.

       33.      There are no medical studies that support a conclusion that PBRT would

 be a proven, safe and effective treatment for one age group, but not the other.

        34.       On January 1, 2019, UHC changed its PBRT policy (the “New 2019

  Policy”). The new policy acknowledges that PBRT is, in fact, not experimental, as
                                                           8
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 9 of 28



  PBRT and IMRT are “proven and considered clinically equivalent for treating

  prostate cancer.” Under the New 2019 Policy, a person’s request for authorization of

  PBRT to treat prostate cancer will be determined on a case-by-case basis as opposed

  to a blanket denial based on the UHC PBRT Policy.

        35.       The driving force behind the advent of the New 2019 Policy on January

  1, 2019 appears entirely arbitrary, as there were no significant clinical developments

  in PBRT from the time UHC denied Plaintiff’s request for pre-authorization of PBRT

  on May 30, 2018, until January 1, 2019, the effective date of the New 2019 Policy.

        36.       Despite the change in policy, MRIA continued to uphold UHC’s decision

  to deny coverage of PBRT to Plaintiff under the old UHC PBRT Policy, even as of

  February 4, 2019.

    D. Despite its Uniform Policy to Deny the Claims of its Beneficiaries, UHC’s Public
       Initiatives Support PBRT for the Treatment of Prostate Cancer.

       37.      In 2015, ProHEALTH Proton Center Management, LLC (“ProHealth”),

 an affiliate of UHC, received approval from the New York Public Health and Health

 Planning Council to construct and operate the New York Proton Center in Harlem,

 New York.

       38.        As part of the agreement with the State of New York, ProHealth pledged

 $15,359,260 for the New York Proton Center and became a 33% member in the

 management company that provides equipment and day-to-day administrative/non-

 clinical support for the project.

       39.        The New York Proton Center’s website acknowledges their partnership

 with ProHealth to make PBRT more accessible to patients seeking cancer treatment,

                                                           9
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 10 of 28



  including prostate cancer.

         40.       Thus, during the time that the UHC PBRT Policy was in effect, UHC

  simultaneously presented to the New York Public Health and Health Planning

  Council that PBRT was an appropriate treatment for prostate cancer while denying

  coverage for such treatment to its plan participants and beneficiaries.

                                        INDIVIDUAL ALLEGATIONS

     A. The Employer Plan.

         41.       The Employer Plan is a fully insured plan, meaning that UHC both

  administers the Employer Plan by making all benefit determinations and pays the

  benefits out of its own assets.                 UHC maintains control over the decision-making

  process and is ultimately responsible for authorizing the issuance of checks for paying

  benefits.

         42.       As a beneficiary to the Employer Plan, Plaintiff was issued the

  Certificate of Coverage for the Health Savings Account (“HSA”) Plan AHP3 of Cole,

  Scott & Kissane, P.A. (“Benefit Handbook”). The Benefit Handbook, which is a plan

  document governing Plaintiff’s insurance that details the terms and conditions of the

  Employer Plan, defines “Covered Health Care Service(s)” as “health care services . . .

  which [UHC] determine[s] to be . . . Medically necessary.”

         43.       The Benefit Handbook defines “Medically necessary” as “health care

  services provided for the purpose of preventing, evaluating, diagnosing or treating a

  Sickness, Injury, Mental Illness, substance-related and addictive disorders, condition,

  disease or its symptoms . . . .”


                                                           10
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 11 of 28



        44.        In addition, the Benefit Handbook includes a list of “Exclusions,” which

  are deemed to be services that are not covered under the Employer Plan. One such

  Exclusion is entitled “Experimental or Investigational or Unproven Services” (the “E/I

  Exclusion”). The E/I Exclusion states as follows:

        [M]edical, surgical, diagnostic, psychiatric, mental health, substance-
        related and addictive disorders or other health care services, technologies,
        supplies, treatments, procedures, drug therapies, medications or devices
        that, at the time [UHC] make[s] a determination regarding coverage in a
        particular case, are determined to be any of the following:

        •     Not approved by the U.S. Food and Drug Administration (FDA) to
        be lawfully marketed for the proposed use and not identified in the
        American Hospital Formulary Service or the United States Pharmacopeia
        Dispensing Information as appropriate for the proposed use.
        •     Subject to review and approval by any institutional review board
        for the proposed use. (Devices which are FDA approved under the
        Humanitarian Use Device exemption are not Experimental or
        Investigational.)
        •     The subject of an ongoing clinical trial that meets the definition of
        a Phase I, II or III clinical trial set forth in the FDA regulations, regardless
        of whether the trial is actually subject to FDA oversight.

  (Emphasis in original).

        45.        The first criterion is inapplicable. As UHC acknowledges in its New

  2019 Policy, radiation therapy is a procedure, and therefore, is not subject to FDA

  regulation.

        46.        The accelerators and other equipment used to generate and deliver

  PBRT are regulated by the FDA. On February 22, 1988, the FDA approved the Proton

  Therapy System, and designated it as a Class II Device for radiological treatment.

  This classification was codified at 21 C.F.R. § 892.5050, and describes the Proton

  Therapy System as a “device that produces by acceleration high energy charged

  particles (e.g., electrons and protons) intended for use in radiation therapy.” Thus, at
                                                           11
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 12 of 28



  least as of February 22, 1988, PBRT no longer fit within the E/I Exclusion to the

  Employer Plan.

        47.        The last two criteria under the E/I Exclusion would not serve to exclude

  treatment for prostate cancer. Clinical trials of PBRT may be ongoing but only to

  refine PBRT’s use or to treat other conditions, such as seizures. PBRT has long been

  recognized by the medical community as an established, medically appropriate

  treatment for the treatment of cancer, including prostate cancer.

        48.        UHC has since recognized that PBRT is not experimental, and PBRT

  and IMRT are “proven and considered clinically equivalent for treating prostate

  cancer.” There were no clinical developments in the field of PBRT from the time UHC

  denied Plaintiff’s request for pre-authorization of PBRT in May 2018 to January 2019,

  when the New 2019 Policy took effect, and UHC deemed PBRT to be a proven, safe,

  and effective treatment for prostate cancer in persons 19 years of age or older.

        49.        The denials at issue in this case relate to UHC’s E/I Exclusion and its

  application of the UHC PBRT Policy prior to the New 2019 Policy taking effect.

     B. UHC’s Denial of Coverage for PBRT.

       50.       Plaintiff was diagnosed with prostate cancer in April 2018. In May 2018,

  Plaintiff’s radiation oncologist, Dr. Marcio Fagundes, recommended that Plaintiff

  undergo PBRT as an alternative to IMRT because, among other things, the likelihood

  of achieving a better outcome was greater for PBRT.

        51.      On May 30, 2018, UHC denied Plaintiff’s request for pre-authorization of

  PBRT on the grounds that it fell under the “E/I Exclusion” and was prohibited by the

  UHC PBRT Policy.
                                                           12
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 13 of 28



         52.       On August 13, 2018, Baptist Hospital of Miami (“Baptist”) submitted an

  internal appeal on Plaintiff’s behalf, asking that UHC reconsider its decision to deny

  coverage or payment for PBRT.

         53.       By letter dated August 28, 2018, UHC upheld its decision to deny

  coverage. UHC stated:

          It was determined that your benefit plan does not pay for this service(s).
          This decision is based on the UnitedHealthcare Proton Beam Radiation
          Therapy Medical Policy and the terms of your plan.

         54.       UHC’s August 28, 2018 letter exhausted Plaintiff’s internal remedies

  available to challenge UHC’s benefits denial.

         55.       On December 27, 2018, Plaintiff formally requested an external review

  of UHC’s decision to deny his request for PBRT to treat his prostate cancer.

         56.       On January 7, 2019, Plaintiff received a letter from MRIA accepting his

  external review request and requiring that he submit all pertinent information he

  wanted considered by the IRO.

         57.       In compliance with MRIA’s January 7th letter, Plaintiff, by and through

  counsel, 1 wrote to MRIA on January 24, 2019, requesting that UHC’s denial of

  coverage for PBRT be overturned. In the letter, Plaintiff’s counsel included evidence—

  including the New 2019 Policy, an updated report from Dr. Fagundes, and documents

  evincing UHC’s public support for PBRT in the State of New York—supporting

  Plaintiff’s position that PBRT is not experimental or investigational.

         58.       Dr. Fagundes’s updated report concluded that Plaintiff has an


  1The undersigned submitted this letter with Plaintiff’s consent and after Plaintiff signed UHC’s
  Appointment of Authorized Representative Form.
                                                           13
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 14 of 28



  undetectable amount of prostate-specific antigen, a result consistent with the efficacy

  of “combined androgen deprivation therapy and PBRT.”

        59.        As part of Plaintiff’s external appeal process with MRIA, Dr. Fagundes

  wrote UHC a letter dated January 18, 2019, to support Plaintiff’s request for coverage.

  In the letter, Dr. Fagundes cited to peer-reviewed studies that demonstrate the

  efficacy of PBRT. Dr. Fagundes requested that UHC “reconsider approval for proton

  therapy” and noted that PBRT “significantly reduces radiation dose to normal rectal,

  bladder, and uninvolved tissue (10).”

        60.        Dr. Fagundes’s letter also asked that UHC overturn its decision because

  of the FDA’s approval of proton therapy on February 22, 1988. He further stated that

  Plaintiff “meets every criterion as defined by the FDA for appropriateness of use and

  therefore designating [PBRT] as experimental is fallacious, inaccurate, and contrary

  to the public record.”

        61.        Despite the substantial support for PBRT provided to MRIA, on

  February 4, 2019, MRIA rejected Plaintiff’s request for reconsideration of its denial

  and concluded that PBRT was not covered.

        62.        Notably, in denying coverage, UHC failed to discuss or even

  acknowledge the information provided by Dr. Fagundes supporting PBRT, including

  the many studies verifying its safety and efficacy. Thus, UHC provided Plaintiff with

  no basis for its negative coverage determination aside from its reliance—to the

  exclusion of all contrary evidence—on UHC’s pre-existing policy that PBRT falls under

  the E/I Exclusion.


                                                           14
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 15 of 28



        63.        UHC’s decision finding PBRT to be “experimental and investigational”

  under the Employer Plan was erroneous, arbitrary, and capricious.

        64.        Indeed, the Glossary definition of “Unproven Service(s)” in the Benefits

  Handbook further confirms that UHC’s application of its E/I Exclusion to PBRT is

  improper. The definition states that unproven services are: “services . . . that are

  determined not to be effective for treatment of the medical condition and/or not to have

  a beneficial effect on health outcomes due to insufficient and inadequate clinical

  evidence from well-conducted randomized controlled trials or cohort studies in the

  prevailing published peer-reviewed medical literature.”

        65.        PBRT is not a “new” technology; it has been around and well-accepted

  for thirty years. PBRT has been determined to be “effective for treatment” of prostate

  cancer, and its use is entirely consistent with prevailing medical research, based on

  numerous “controlled trials or cohort studies in the prevailing published peer reviewed

  medical literature.” UHC persistently ignored such trials and studies when applying

  its E/I Exclusion to deny coverage for PBRT to Plaintiff and the Class he seeks to

  represent.

     C. UHC’s ERISA Violations.

        66.        As     the      claims       administrator            responsible          for     interpreting         and

  administering the Employer Plan and similar UHC plans issued nationwide, and

  vested with responsibility for making final benefit determinations, UHC is an ERISA

  fiduciary.

        67.        As an ERISA fiduciary, UHC was required to discharge its duties


                                                           15
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 16 of 28



  consistent with 29 U.S.C. § 1104, which requires (among other things) that it do so

  “solely in the interest of the participants and beneficiaries” and for the “exclusive

  purpose” of “providing benefits to participants and their beneficiaries” and paying

  reasonable expenses of administering the plan. It must do so with the “care, skill,

  prudence, and diligence” and in accordance with the terms of the plans it administers.

  UHC violated all of these requirements.

        68.        UHC violated these duties when it prepared and promulgated the UHC

  PBRT Policy, because UHC relied upon outdated evidence, ignored evidence indicating

  that PBRT was not experimental, and unreasonably concluded that PBRT was

  “experimental, investigational or unproven.” UHC then compounded that breach of

  duty by relying upon the UHC PBRT Policy to deny insurance claims submitted by

  Plaintiff and Class members in contravention of the terms of their UHC plans.

        69.        In some areas of the United States, the cost to administer PBRT far

  exceeds the cost for traditional IMRT for the same condition; the cost for PBRT can be

  double that of traditional IMRT.

        70.        UHC did not act “solely in the interests of the participants and

  beneficiaries” when it denied coverage for PBRT. Rather, upon information and belief,

  UHC denied coverage for PBRT to treat prostate cancer because, on average, PBRT is

  significantly more expensive than traditional IMRT or other treatments.

        71.        In violating its fiduciary duties, UHC elevated its own interests above

  the interests of plan participants and beneficiaries, reflecting its conflict of interest

  when determining whether to cover PBRT. By promulgating and applying its PBRT


                                                           16
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 17 of 28



  Policy, UHC sacrificed the interests of insureds like Plaintiff and the Class so that it

  could artificially decrease the number and value of claims it was required to pay from

  its own assets (i.e., with respect to fully insured plans and self-funded plans with stop-

  loss provisions requiring UHC to cover benefits above a certain threshold) and the

  assets of its employer-sponsor customers (i.e., with respect to other self-funded plans);

  moreover, by prioritizing the assets of its employer-sponsor customers, UHC also

  advanced its own interests in retaining and expanding its business with such

  customers.

                                      CLASS ACTION ALLEGATIONS

        72.        The proposed PBRT Class meets all requirements of Fed. R. Civ. P.

  23(a) and 23(b).

     A. The Class.

        73.        Plaintiff brings his claims on his own behalf and on behalf of a

  nationwide “PBRT Class,” defined as:

         All participants or beneficiaries in ERISA Plans underwritten or
         administered by United Healthcare Insurance Company who, based on
         the application of a UHC PBRT Policy in effect prior to January 1, 2019,
         were denied health insurance coverage for Proton Beam Radiation
         Therapy to treat prostate cancer, on grounds that included the assertion
         that it was “experimental or investigational.” The PBRT Class includes
         both persons whose post-service claims for reimbursement were denied
         and persons whose pre-service requests for authorization were denied.

        74.        The definition of “experimental or investigational” services or treatment

  in UHC’s health insurance policies at all relevant times has been substantially similar

  to the definition in the Employer Plan.

        75.        The E/I Exclusion contained in the Employer Plan and relied upon by

                                                           17
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 18 of 28



  UHC in denying coverage for Plaintiff is largely identical to, and is interpreted by UHC

  as having the same meaning as, comparable exclusions included in the UHC plans

  applicable to all Class members.

        76.          The PBRT Class excludes (a) UHC, including any entity or division in

  which UHC has a controlling interest, as well as its agents, representatives, officers,

  directors, employees, trustees, and other entities related to, or affiliated with UHC, (b)

  Class Counsel, and (c) the Judge to whom this case is assigned and any members of

  the Judge’s staff or immediate family.

     B. Numerosity.

        77.          The members of the PBRT Class are so numerous that joinder of all

  members is impractical.

        78.          While the precise number of members in this Class is known only to

  UHC, UHC is the ERISA fiduciary and has issued the policies providing coverage

  under tens of thousands of employer-sponsored ERISA plans, and PBRT has become

  so widespread that at a minimum, requests numbering in the hundreds, if not

  thousands, must have been submitted to and denied by UHC for coverage of this

  therapy.

        79.          Upon information and belief, just last year, approximately 5,000

  patients with prostate cancer were treated using PBRT nationwide and across all

  payors.

        80.          The PBRT Class is ascertainable because its members can be readily

  identified using UHC’s claims data. PBRT therapy is described with a discrete set of

  procedure codes under the Current Procedural Terminology (“CPT”) promulgated by
                                                             18
                                                     Colson Hicks Eidson
            255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 19 of 28



  the American Medical Association. Accordingly, Class members can be readily and

  objectively ascertained through use of records maintained by UHC.

        81.        Finally, PBRT Class members are dispersed geographically throughout

  the United States, such that joiner of all members is impracticable.

     C. Predominance of Common Issues.

        82.        This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and

  23(b)(3) because questions of law and fact that have common answers predominate

  over questions affecting only individual Class members.                                    These include, without

  limitation:

                   a. Whether PBRT therapy is an “experimental or investigational”

                        service or treatment;

                   b. Whether UHC acted as an ERISA fiduciary when it created or

                        developed the UHC PBRT Policy;

                   c. Whether UHC categorically applied the UHC PBRT Policy to deny

                        coverage to PBRT Class members;

                   d. Whether PBRT Class members’ claim denials were based in whole or

                        in part on the UHC PBRT Policy;

                   e. Whether the creation or development of the UHC PBRT Policy

                        constituted a violation of ERISA;

                   f. Whether UHC’s application of the UHC PBRT Policy constituted a

                        violation of ERISA; and

                   g. Whether PBRT Class members are entitled to the relief sought if

                        Plaintiff establishes liability.
                                                           19
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 20 of 28



     D. Typicality.

        83.       Plaintiff’s claims are typical of the claims of PBRT Class members

  because Plaintiff is a beneficiary of an ERISA Plan administered by UHC, he

  submitted a claim for coverage of PBRT for treatment of his prostate cancer, and, like

  other PBRT Class members, UHC denied his claim based on the PBRT Policy and an

  incomplete research database that it references with respect to all requests for

  coverage of PBRT for treatment of prostate cancer.

     E. Adequacy of Representation.

        84.       Plaintiff will fairly and adequately protect the interests of the Class.

  Plaintiff’s interests do not conflict with the interests of the members of the Class.

  Further, Plaintiff has retained counsel who are competent and experienced in complex

  class action litigation, and Plaintiff and his counsel intend to prosecute this action

  vigorously on behalf of the Class members and have the financial resources to do so.

  Neither Plaintiff nor his counsel has any interest adverse to those of the Class

  members.

     F. Superiority.

        85.       This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1) because

  the prosecution of separate actions by individual Class members would create a risk

  of inconsistent or varying adjudications that could establish incompatible standards of

  conduct for UHC.

        86.       This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because

  by applying a uniform policy treating PBRT as “experimental, investigational or

                                                          20
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 21 of 28



  unproven,” UHC has acted and refused to act on grounds that apply generally to the

  Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible

  standards of conduct towards Class members, and making final injunctive relief or

  corresponding declaratory relief appropriate respecting the proposed Class as a whole.

        87.        This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because

  a class action is superior to other available methods for the fair and efficient

  adjudication of this controversy. Questions of law and fact common to the Class

  members predominate over any questions affecting only individual members.

        88.        A class action is superior to other available methods for the fair and

  efficient adjudication of this controversy because joinder of all Class members is

  impracticable. Further, because the unpaid benefits denied Class members are small

  relative to the expense and burden of individual litigation, it would be impossible for

  the members of the Class to redress individually the harm done to them, such that

  most or all Class members would have no rational economic interest in individually

  controlling the prosecution of specific actions, and the burden imposed on the judicial

  system by individual litigation by even a small fraction of the Class would be

  enormous, making class adjudication the superior alternative under Fed. R. Civ. P.

  23(b)(3)(A).

        89.        The conduct of this action as a class action presents far fewer

  management difficulties, far better conserves judicial resources and the parties’

  resources, and far more effectively protects the rights of each Class member than

  would piecemeal litigation. Compared to the expense, burdens, inconsistencies,

  economic infeasibility, and inefficiencies of individualized litigation, the challenges of
                                                           21
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 22 of 28



  managing this action as a class action are substantially outweighed by the benefits to

  the legitimate interests of the parties, the court, and the public of class treatment in

  this court, making class adjudication superior to other alternatives, under Fed. R. Civ.

  P. 23(b)(3)(D).



                                                         COUNT I

                           VIOLATION OF FIDUCIARY OBLIGATIONS
                          ON BEHALF OF PLAINTIFF AND THE CLASS

        90.        Plaintiff incorporates by reference paragraphs 1 through 89 as if fully

  stated herein.

        91.        This count is brought pursuant to 29 U.S.C. § 1132(a)(1)(B).

        92.        As the entity responsible for making medical benefit determinations

  under the Employer Plan and the PBRT Class members’ similar plans, and

  responsible for developing internal practices and policies to facilitate such

  determinations, UHC is an ERISA fiduciary.

        93.        As an ERISA fiduciary, and pursuant to 29 U.S.C. § 1104(a), UHC is

  required to discharge its duties “solely in the interests of the participants and

  beneficiaries” and for the “exclusive purpose of providing benefits to participants and

  their beneficiaries” and paying “reasonable expenses of administering the plan.” UHC

  must do so with reasonable “care, skill, prudence, and diligence” and in accordance

  with the terms of the plans it administers. UHC must conform its conduct to a

  fiduciary duty of loyalty and may not make misrepresentations to its insureds.

        94.        UHC violated these duties by adopting and implementing a policy to
                                                           22
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 23 of 28



  deny coverage for PBRT based on the experimental and investigational exclusions

  under its plans, when such a finding was contrary to generally accepted practices and

  to the terms of the plans. In particular, prior to the New 2019 Policy taking effect,

  UHC ignored current evidence, and widespread acceptance of PBRT as a safe and

  effective treatment for prostate cancer in improperly applying the E/I Exclusion to

  PBRT.

        95.        In doing so, UHC did not act “solely in the interests of the participants

  and beneficiaries” for the “exclusive purpose” of “providing benefits.” UHC did not

  utilize the “care, skill, prudence, and diligence” of a “prudent man” acting in a similar

  capacity. UHC did not act in accordance with the terms of the Employer Plan and

  other UHC plans, all of which contain E/I Exclusions.

        96.        Instead, UHC elevated its own interests and those of its corporate

  affiliates above the interests of plan participants and beneficiaries. By adhering to an

  incorrect and outdated policy with regard to PBRT, UHC artificially decreased the

  number and value of covered claims thereby benefiting its corporate affiliates at the

  expense of insureds.

        97.        In some areas of the United States, the cost to administer PBRT far

  exceeds the cost for traditional IMRT for the same condition; the cost for PBRT can be

  double that of traditional IMRT.

        98.        UHC did not act “solely in the interests of the participants and

  beneficiaries” when it denied coverage for PBRT. Rather, upon information and belief,

  UHC denied coverage for PBRT to treat prostate cancer due to its average higher cost


                                                           23
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 24 of 28



  throughout the nation.

        99.        UHC’s decision to implement the New 2019 Policy—without any recent

  clinical developments—and acknowledge that PBRT is no longer experimental or

  investigational, demonstrates that UHC arbitrarily applied the UHC PBRT Policy

  prior to January 1, 2019.

        100.       Plaintiff and Class members have been harmed by breaches of fiduciary

  duty of UHC because their claims have been subjected improperly to the E/I Exclusion,

  leading to denials of coverage for PBRT, when PBRT is actually a Covered Health Care

  Service within the definition of the UHC plans.

        101.       Plaintiffs and Class members seek the relief identified below to remedy

  this claim.

                                                        COUNT II

                              IMPROPER DENIAL OF BENEFITS
                          ON BEHALF OF PLAINTIFF AND THE CLASS

        102.       Plaintiff incorporates by reference paragraphs 1 through 89 as if fully

  stated herein.

        103.       This count is brought pursuant to 29 U.S.C. § 1132(a)(1)(B).

        104.       UHC denied the insurance claims for PBRT submitted by Plaintiff and

  other Class members in violation of the terms of the Employer Plan and the other UHC

  plans that insure members of the Class. UHC denied these claims based on its E/I

  Exclusion, which does not properly apply to PBRT.

        105.       Plaintiff and Class members have been harmed by UHC’s improper

  benefit denials because they were deprived of insurance benefits they were owed.
                                                           24
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 25 of 28



        106.       Plaintiff and Class members seek the relief identified below to remedy

  this claim.


                                                       COUNT III

                              CLAIM FOR INJUNCTIVE RELIEF
                          ON BEHALF OF PLAINTIFF AND THE CLASS

        107.       Plaintiff incorporates by reference paragraphs 1 through 89 as if fully

  stated herein.

        108.       This count is brought pursuant to 29 U.S.C. § 1132(a)(3)(A) only to the

  extent that the Court finds that the injunctive relief sought to remedy Counts I and/or

  II are unavailable pursuant to 29 U.S.C. § 1132(a)(1)(B). Plaintiff and the Class have

  been harmed by UHC’s breaches of fiduciary duty described above.

        109.       In order to remedy these harms, Plaintiff and the Class are entitled to

  enjoin these acts and practices pursuant to 29 U.S.C. § 1132(a)(3)(A).

                                                       COUNT IV

                CLAIM FOR OTHER APPROPRIATE EQUITABLE RELIEF
                     ON BEHALF OF PLAINTIFF AND THE CLASS

        110.       Plaintiff incorporates by reference paragraphs 1 through 89 as if fully

  stated herein.

        111.       This count is brought pursuant to 29 U.S.C. § 1132(a)(3)(B) only to the

  extent that the Court finds that the equitable relief sought to remedy Counts I and II

  are unavailable pursuant to 29 U.S.C. § 1132(a)(1)(B).

        112.       Plaintiff and the Class have been harmed by UHC’s breaches of fiduciary

  duty described above.
                                                           25
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 26 of 28



        113.       Additionally, by engaging in this misconduct, UHC was unjustly

  enriched in two ways: first, with regard to fully-insured plans or plans that include a

  stop-loss provision requiring UHC to pay all benefits above a certain threshold, it

  avoided paying benefits out of its own funds and/or the funds of its corporate affiliates;

  second, with regard to self-funded plans, UHC charged its corporate customers fees for

  serving as claims administrator while improperly denying PBRT benefits based on the

  inapplicable E/I Exclusion and also lowered costs for its corporate customers, allowing

  UHC to retain current customers and expand its business to new customers.

        114.       In order to remedy these harms, Plaintiff and the Class are entitled to

  appropriate equitable relief, including an appropriate monetary award based on

  restitution, disgorgement or surcharge, pursuant to 29 U.S.C. § 1132(a)(3)(B).

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment in his favor and against Defendant

  UHC as follows:

         A.        Certifying the Class, as set forth in this Complaint, and appointing

  Plaintiff as Class Representative and undersigned counsel as Class Counsel;

         B.        Declaring that UHC violated the Employer Plan, and the similar ERISA

  Plans of the other members of the Class, and that UHC violated its fiduciary duties

  under ERISA, and awarding appropriate equitable relief including disgorgement and

  surcharges;

         C.        Ordering UHC to reprocess Plaintiff’s and PBRT Class members’ claims

  under the New 2019 Policy, which reflects the state of the science and medical


                                                           26
                                                   Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 27 of 28



  community’s acceptance of PBRT as a proven, safe and effective treatment for

  prostate cancer;

        D.        Ordering UHC to create a common fund out of which it will make

  payment, with interest, of any unpaid benefits to Plaintiff and PBRT Class members;

        E.        Awarding Plaintiff disbursements and expenses of this action, including

  reasonable attorneys’ fees pursuant to 29 U.S.C. § 1132(g)(1), in amounts to be

  determined by the Court; and

        F.        Granting such other and further relief as is just and proper.




                                                          27
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
Case 1:19-cv-21258-FAM Document 1 Entered on FLSD Docket 04/03/2019 Page 28 of 28



  DATED: April 3, 2019.


                                                          Respectfully submitted,

                                                          COLSON HICKS EIDSON
                                                          255 Alhambra Circle, Penthouse
                                                          Coral Gables, Florida 33134
                                                          Telephone: (305) 476-7400
                                                          Facsimile: (305) 476-7444
                                                          E-mail: eservice@colson.com


                                                           /s/ Dean Colson
                                                           Dean Colson, Esq.
                                                           Florida Bar No. 228702
                                                           dean@colson.com
                                                           Stephanie A. Casey, Esq.
                                                           Florida Bar No. 97483
                                                           scasey@colson.com
                                                           Lazaro Fields, Esq.
                                                           Florida Bar No. 1004725
                                                           laz@colson.com

                                                           Counsel for Plaintiff and the Putative Class




                                                          28
                                                  Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
